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AO 247 (I Oil I) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(cX2)                                 Page 1 of 2 (Page 2 Not for Public Disclosure)




                                                                 UNITED STATES DISTRICT COURT                                                FILED
                                                                                        for the                                 U.S. DISTRICT COURT
                                                                                                                                     SAVANNAH DIV.
                                                         Southern District of Georgia - Savannah Division
                                                                                                                                         JUN -8 2015
                        United States of America                                          )

                                   wi11i:ones
                                                                                                   7ii':
Date of Original Judgment:         December 9, 2013                                       ) Toly A. Siamos
Date of Previous Amended Judgment: N/A                                                    ) Defendant's Attorney
(Use Date of Last Amended Judgment, if any)


                                           Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)


         Upon motion of        the defendant      the Director of the Bureau of Prisons tithe court under 18 U.S .C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG § 1 B 1.10 and
the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
    DENIED.           LII
             GRANTED and the defendant's previously imposed sentence of imprisonment (as reflected in the last Judgment
             issued) of        months is reduced to


                                                      (Complete Parts I and!! of Page 2 when motion is granted)




 Except as otherwise provided above, all provisions of the judgment dated                              December 9, 2013, shall remain in effect.
 IT IS SO ORDERED.

 Order Date:                                 3
                                                                                                                    Judge r siodfure


                                                                                               William T. Moore, Jr.
                                                                                               Judge, U.S. District Court
 Effective Date: November 1, 2015                                                              Southern District of Georgia
                            (if dfferent from order date)                                                         Printed name and title
